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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR. NO. 06-00080 (02) SOM-BMK
                              )
          Plaintiff,          )
                              )           ORDER REGARDING PARTIAL
     vs.                      )           WAIVER OF ATTORNEY-CLIENT
                              )           PRIVILEGE WITH RESPECT TO
RODNEY JOSEPH, JR.,     (02) )            DEFENDANT’S MOTION TO
                              )           SUPPRESS STATEMENT AND
          Defendant.          )           EVIDENCE
                              )
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                  ORDER REGARDING PARTIAL WAIVER OF
              ATTORNEY-CLIENT PRIVILEGE WITH RESPECT TO
        DEFENDANT’S MOTION TO SUPPRESS STATEMENT AND EVIDENCE

I.           INTRODUCTION.

             On August 1, 2007, Defendant Rodney Joseph, Jr., filed

a motion to suppress a videotaped, audiotaped, and transcribed

statement that he had provided to Honolulu Police Department

detectives on January 8, 2004, as well as any evidence seized as

the result of that statement.        Joseph’s motion claimed, inter

alia, that he was denied effective assistance by his then

counsel, Christopher R. Evans.        Defendant’s Motion to Suppress

Statement and Evidence at 5-7, 8-15 (August 1, 2007).

             The Government sought an order determining that Joseph

had waived the attorney-client privilege he had with Evans.

Joseph argued that it was unnecessary for him to waive the

attorney-client privilege because his ineffective assistance of

counsel claim was demonstrated by the videotape of his statement.
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In fairness to the Government, this court determined that Joseph

had waived the attorney-client privilege with respect to all

communications he had had with Evans, to the extent those

communications were relevant to any of Joseph’s ineffective

assistance of counsel claims raised in his motion to suppress.

The Government may therefore interview, obtain a statement, or

call Evans as a witness in connection with Joseph’s motion to

suppress.   However, the Government may not use Evans’s statements

or call him as a witness in any other proceeding, unless Joseph

opens the door by, for example, taking the stand and testifying

at trial contrary to what Evans has stated.

II.         LEGAL STANDARD.

            To make a claim for ineffective assistance of counsel,

a defendant “must identify the acts or omissions of counsel that

are alleged not to have been the result of reasonable

professional judgment.    The court must then determine whether, in

light of all the circumstances, the identified acts or omissions

were outside the wide range of professionally competent

assistance.”   Strickland v. Washington, 466 U.S. 668, 690 (1984).

The defendant must show that the mistakes made by his counsel

resulted in prejudice.    “Generally, there must be a ‘reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.’”           Perez v.




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Rosario, 459 F.3d 943, 946 (9th Cir. 2006) (quoting Strickland

466 U.S. at 694).

           Questioning the performance of a lawyer during a case

has been widely recognized as a waiver by the client of the

attorney-client privilege that the client has with respect to the

lawyer.   See Bittaker v. Woodford, 331 F.3d 715, 716, 718 (9th

Cir. 2003).   This long-standing rule is often described as either

the “fairness principle” or the prevention of a client from using

the attorney-client privilege “as both a shield and a sword.”

Id. at 719 (citing United States v. Amlani, 169 F.3d 1189, 1196

(9th Cir. 1999), Chevron Corp. v. Pennzoil Co., 974 F.2d 1156,

1162 (9th Cir. 1992)).   The practical effect of the rule is that

clients “may not abuse the privilege by asserting claims the

opposing party cannot adequately dispute unless it has access to

the privileged materials.”     Bittaker, 331 F.3d at 719.        As a

result, a party asserting claims of ineffective assistance of

counsel implicitly waives the attorney-client privilege with

respect to those claims.

           This implied waiver does not require categorical

disclosure of privileged materials.      Id. at 720.     The client may

elect to “preserve the confidentiality of the privileged

communications by choosing to abandon the claim that gives rise

to the waiver condition.”      Id. at 721 (citation omitted).

Alternatively, the client who elects to litigate a claim against


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his or her former counsel “must waive [his or her] privilege to

the extent necessary to give [his or her] opponent a fair

opportunity to defend against it.”     Id. at 720 (citing Amlani,

169 F.3d at 1195).

           The implied waiver must be “no broader than needed to

ensure the fairness of the proceedings . . . . Because a waiver

is required so as to be fair to the opposing side, the rationale

only supports a waiver broad enough to serve that purpose.”             Id.

at 720.   Thus, if the privilege holder elects to pursue a claim

against prior counsel, the implied waiver must be “closely

tailored . . . to the needs of the opposing party in litigating

the claim in question.”    Id. at 720 (citing Kerr v. U.S. Dist.

Court, 426 U.S. 394, 405 (1976)).

III.       ANALYSIS.

           As the court stated at the hearing, Joseph’s motion to

suppress does not, in fairness, require a waiver of the entire

attorney-client privilege he had with his former counsel, Evans.

Nevertheless, the motion raises issues that, in fairness to the

Government, require a partial waiver of that privilege.

           Joseph argues that Evans was ineffective in that Evans:

           (1) did not visit the scene of the shooting
           or make any effort to identify or speak with
           any witnesses; (2) conducted no other
           investigation of the shooting incident;
           (3) had no contact with the prosecutor’s
           office regarding a plea agreement or an
           agreement limiting the use of Joseph’s
           statement; (4) assured Joseph a plea

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             agreement was a distinct possibility even
             though Evans had not spoken with the
             prosecutor’s office about such an agreement;
             (5) instructed Joseph to speak without regard
             to the consequences where Evans had obtained
             no agreement limiting use of the statement;
             (6) falsely assured Joseph his statement
             would remain confidential; and (7) invited
             police to ask Joseph questions without
             Miranda warnings, allowing Joseph freely to
             participate in the “offer of proof” without
             the benefit of such warnings.

Defendant’s Opposition to Government’s Motion for Order Finding

Waiver of Attorney-Client Privilege With Respect to Defendant’s

Instant Motion to Suppress Statement and Evidence at 6-7 (October

15, 2007).    Joseph’s ineffective assistance of counsel claims

implicitly waive his attorney client privilege with respect to

all of those claims.    The scope of that waiver must be tailored

to Joseph’s claims.    Bittaker, 331 F.3d at 720.       Given the

breadth of the claims, the privilege is waived with respect to

all communications between Evans and Joseph that occurred before

Joseph gave a statement to Honolulu Police Department detectives

and that related to the Pali Golf Course shootings or to events

or circumstances leading up to the shootings.

             In connection with Joseph’s motion to suppress, the

Government may freely interview and may use statements by Evans

concerning Joseph’s ineffective assistance of counsel claims.

The Government may also call Evans as a witness in connection

with Joseph’s motion to suppress based on Evans’s alleged

ineffective assistance of counsel.     The Government, however, may

not use any statement or call Evans in further proceedings



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unrelated to Joseph’s motion to suppress based on alleged

ineffective assistance of counsel.     Only if Joseph opens the door

at trial by himself testifying or by presenting evidence contrary

to what Evans has stated may the Government call Evans in

rebuttal and use Evans’s statements to impeach Joseph’s evidence.

          If any party objects to the prohibition on the

Government’s use of Evans’s statement in its case in chief or to

the allowing of the use of Evans’s statement by the Government in

rebuttal if the defense presents contrary evidence, that party

should immediately notify the court of such objection.           If

possible, any such objection shall be submitted to the court

before Evans is even interviewed concerning Joseph’s ineffective

assistance of counsel claims.




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IV.         CONCLUSION.

            The court GRANTS the Government’s motion seeking a

partial waiver of Joseph’s attorney-client privilege with Evans

with the limitations provided in this order.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, October 30, 2007.




                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    United States District Judge


United States of America v. Rodney Joseph, Jr., Cr. No. 06-00080 (02) SOM/BMK;
ORDER REGARDING PARTIAL WAIVER OF ATTORNEY-CLIENT PRIVILEGE WITH RESPECT TO
DEFENDANT’S MOTION TO SUPPRESS STATEMENT AND EVIDENCE.




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